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                                 ID #:33201




                 EXHIBIT 76
                            Part 2 of 2
Case 2:10-cv-03633-ODW-RZ                                      Document 500-14                      Filed 10/10/12             Page 2 of 44 Page
                                                                    ID #:33202


                                                                                                           -WOJ~




    1'1/2212007
                                                           Renner, Otto, Soi!!!!<SIII!, & Skier, LI.P
    S;41 ~M
                                                                    Pre-bill Worksheet
                                                                                                                                Page        720
    sr~G.ZG0101:Mr. Mike sregel (conunuea)

    Dele             Lawyer
    ID               Task
                                                                                         Rare             Hours     Amount             Total
      l0/24/20o1 -=o::::w~e--------------                                          Meri<ue%        DNB,.l'ime      DNBAmt ____~~~
                                                                                      2.7G.OO
                                                                                                        Cj          962.50     Billable


     IOI2St2001 owe
           20697 Sonnce
                                                                                      275. 00              1,26     343.76          Billable
                     TeL c:onf. with Mr. Slager,

     w;.::et2oo1 owe
                                                                                      Z75.00              0.75      206.25
           20720 Se~ce                 ~                                                                                           Billable
                    Confer wi th John 6ot Col

    1 01301~00 1 DWB
                     ---·----- .... .. .   ' - - . .....                                                                                                  I
           20724 SenAce                                                              2.75.00              1.00      Z75.00 '    · aurable ....... ·   - · j... •• •

                    Meeting with Mike Siegel


  Toln!: ::)c:tobc:ar 2001
                                                                                                         s. 10                  $2,502.50




   ~ 1/27/2001 DWB                                                                  275.00               1.20
         24-4 57   Sennce                                                                                          330.00         Billable
                   ReiAaw email from Mike Siegel, tal. eon f. with Miko Slogal, tel. conr. with
                   Mark Toberoff

   . 1J2$l/20:l1
         24467



T:·l<1l: No~moer 2001
                                                                                                        2.80                    $770.00
Dme: December 2001
   121512oo1 owe
      278.32 Sennce                                                                275.00               0.10       27.50         Billable
             Place calllo KalAn Mark~


Tclal: Dac@mber 2001
                                                                                                        0.10                     $27.50




                                                                                                                                      EOMS 00638
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                                                                         EXHIBIT 76
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Case 2:10-cv-03633-ODW-RZ                                  Document 500-14                      Filed 10/10/12         Page 3 of 44 Page
                                                                ID #:33203


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     11/2212001                                       Rannflr, Ottc, 9oiaselle, & Sklcar, LLP
     3.41 AM                                                    Pre·blll Won<slieel                                     Page     721

     6IEG.2G0101 :Mr. Mike Siegel (eontinued)

     D<~lrl             Lawyer                                                    Rate         Hours        Amount             Total
     10_                Task                                                Markur.l 06     ONB Time       ONB .Amt
     Totel: Janvery 2002                                                                           0.35                     S96.25
    Qr.te: Febi'I.Jery 2002
        2111/2002 OWB
               35125 Ser.ice
                     Tel, conf. with Marc Toberolf,
                                                                                275.00
                                                                                                  e          :398.76       Billable


        :21t:V2oo2 owe                                                         276.00             0.70       192.60        Billable
             35126 seNce
.                      Tel. conf. with Mr. Siegol

       2/23120 02
           36200


       212stzooz owe
              352~3    Sef\Ace
                       Tel, con f. with Bte~ Wobster, prepare 'fOr meeting, meeting With Mike
                       Siegel


    ro:al. February 2002                                                                         15.60                  $4,37Z.50
.Date: Marc, 2002
        3tal2oo2 owe                                                          2.7~.00            1.50       412.50        Bnlable
              37015 5er.Ace
                    Tel. cont. with Ke'.in Mar1<s

      3i1.V2002
              37049


      3t ~-412002 owe                                                         275.00             0.45       12:3.75       Blllobte
           37156 Service

                    liliiliiliili'·
      3r1512002 owe                                                           275.00             0.35       9S.25         Slllable
           37181 Sen.ice
                      Tel. conf. with M3 Siegel

     3122/2002 DWB                                                           .<76.00             0.70      192.~0        Billable
           37342 Ser-.ioe
                      Tel, conf. with Marc Tobero!f


""oral: March 2002                                                                               3.40                    $9J5.00




                                                                                                                              EOMS 00639
                                                                                                                        EOMS 00184


                                                                    EXHIBIT 76
                                                                      1603
            Case 2:10-cv-03633-ODW-RZ                                                           Document 500-14                                    Filed 10/10/12                           Page 4 of 44 Page
                                                                                                     ID #:33204


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                      11/221200;:                                                  Renner, Otto, Boisaelle, A Skl~r. L.LP
                     3:4 1 AM
                                                                                            Pre.blll Woll<sneet
                                                                                                                                                                                             Page        722.
                     SIEG.ZG0101:Mr. Mike Siegel (continued)

                    O::lt~                      LQWyer
                     fD               T6s~
                                                                                                                              Rate                  Hours                        Amounl       Tolal
                    lliiL.e..: Mav 2oo="2~:._____ ____ ____ _                                                          Markup%                   DNBTime                        ONBAml __________
                           SIBt2oo2 owe
                                44646 Ser\1ce
                                                                                                                           290.00                        @)                        232.00        Bill.:ablo



                           519/2002 DWS
                               44654 Service
                                                Pr9pare letter to Mer1<s, email to Mike Siegel



                                     Prepare report
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                                                                                                                          290,00                         ®
                                                                                                           corrasponden~e from Mr:. .s~afJ~f ............._...-·· ··- .... ...
                                                                                                                                                                                  346.00        Billable


                          G12012oo2 owe
                               44~54          Seruce                                                                      290.00                              0.40                118.00       Billable
                                              Re~ew ond reply to emell fTOm Mike Siegel
                      5/21/2002 DWB
                                                                                                                         290.00                              0.20                  58.00
                          44SSS Ser-.;ee                                                                                                                                                       Bllla!'Jie
                                             Email report to Mike Siegel

                      5f22/Z002 DW6                                                                                      290,00
                          44874 Sai'\Ace                                                                                                                    0.30                  87.00        Sllleble
                                            l.elter to allcrnay for DC Comics re medical insurance
                     $1.23/2002 DWB
                                                                                                                        2SO.OO                             0.40                  116.00
                         44691 SeNce                                                                                                                                                          Billable
                                           Tel. conf. wilh Ke1.1n M:;ui(J:
i- - -~: ~·. ;::·
            · fo:aJ May 200:2
                                                                                                                                                          4.05                              $1.174.50
             Date· JyhL 2002
                 7/S/2002                  owe                                                                          290.00
                           51678 Sen.<ce                                                                                                                 0.30                    a7.oo        Billable
                                          TQI. oonf. with Mike Siegel

                    7 115/2002
                           .S1740


                    ?.'19/2002 OWB
                           51767 Ser.iee                                                                               290.00                                                   870.00       Sllloble


                    7/30/2002 OWB                                                                                      290.00
                          51850 Se~ce                                                                                                                                           2S1.00       Billable
                                         Tel. conr. with M;rk Tobaroff, lei. eonf. with Ke'Win MerW4




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                                                                                                                                                                                             EOMS 00185


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Case 2:10-cv-03633-ODW-RZ                               Document 500-14                    Filed 10/10/12          Page 5 of 44 Page
                                                             ID #:33205


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  11/2 212007                                     Renner, Otto, Boi:~selle, & Sklar, LLP
  3:,11 liM                                                 Pre-bill Wori<sheel                                       Pago      724
  SIEr:3.cG01 01 :Mr. Mfl<e Siegel (conunued)

  Dole               Lawyer                                                     Rate       Hours       Amount                Total
  ID                 Task                                                Maricup%       DNB Time      DNB Am(
  ·    9/2412002 -=o':!'w""'a=----------------
                                                                    290.00                    0.40      116.00 - --.B:;':;il"Je'b'le
          59767 Sel'.ice
                Email to Marks re stetuo, re~ew emsil ftom Mike Siogci

       9126/2002 DWB                                                          290.00         , .10     319.00             Billable
          69800 Se~ee
                Tel. conr. with Kel.in M:arlcs, l~;~l. eonf. with Miklil Siegel

      S.' Z'T/2002 DWB                                                      2QO,Oo                     377.00             Billable
          59808 Sor.Ooa
                Re-Aew fetters rrom Joanne Siegel, tel. conf. wilh Mike Siegel
      9/.2Q/3002 DWB                                                   ... .. 290.00'        0.35      101 .50
          ~9831 seNce
                    ReiAew 14!tlor from Laura Slagel


 ·rota. September 2002                                                                       6.05                     !1,754.50
p;ate: Octobe
   10/112002
       62797


      1!)15/2002 DWB                                                       290.00           2.25      6:52.50            Billable
          82831 Service
                   Meetino with Mike Siagllll
      l1)/7t2ooz owe
         82840 Sel'\.foe
                                                                           290.00
                                                                                           05         406.00             Billable
               Mike Siegel
               r
  1012912002 DWB
      63032 Sei'\Ace
                              -                                            290.00           1.00      290.00             Billable



               -   Meeting with Mike SitSeel


"'alai: October 2002                                                                        6.65                     $1,928.60
pate: Novamber 2002
 1111112002 DWB                                                           290.00            0.40      116.00            Blllatlle
     65290
                                        place call to Toberoff
 11119/2002 DWB                                                           290.00            1.00      290.00            Blllablo
        65347 Sel'\1ce
              Tel. conf. with M:~rl< Toberoff




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                                                                                                                              EOMS
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                                                                 EXHIBIT 76
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Case 2:10-cv-03633-ODW-RZ                                  Document 500-14                    Filed 10/10/12                            Page 6 of 44 Page
                                                                ID #:33206


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    1'1/22/2007                                        Renner, Otto, Bolssetle, & Sklar. LLP
    J :ttl AM                                                   Pre-bill Wori<sheet                                                         P~e       726

   S IEG.ZG010 1:Mr, Mike Siegel (continued)

   oato              Lawyer                                                        Rate            Hourc                                           Total
   10                T   I                                                  M rk   •   %     DNB      I   •      • ' : , .;. II
   -::-:;12512002
           65409 '


   ro1el• No~mber 2002                                                                              1.70                                       $493.00
   Dale: January 2003
     1115/2003 DWB                                                             290.00               0.40            116.00                     Billable
          71840 Sel'\4ee
                    Re'.iew l'lle, corresponaence With Mr. 51eget

  ...... .u..1 et2003 owe                                                    · 2se.oo··    .. .. - ... 0·:35 ... . '. 101.50                   Billable
                71853 Se~ce
                      Emafl to Toberolf, re'llew end reply to emell frorn Mlk~ Siegel

     1'2212003



~'
     1i'23/Z003 owe                                                           290.00               0.80            174.00
          71923 Sel'.lce                                                                                                                       SUitable
                Tel. con(. with Mere Tcbcroff

     1.'24/2003 DWB                                                           290.00              0.60            145.00                      6illable
         "'1947 Sen.ice
                Tel. coni. with Marc Toberoff

    1.'28/2003 0Wfl
          71978 Sel\1ce
             ,oe:
                  Lc:2~1 re~~:aa:s:;·.b, repon to MIKe Siegel
                                                                              290.00
                                                                                               G                  290.00                      Billable


    1.'29/2003    owe                                                        290.00               O.EIO           174.00                      6111al:lle
        71991 Ser.Ace
                  TeL conf. with Mike Siegel


 Tola• January 2003
                                                                                                 9AS                                        $2,740.50
 Date: Marco 2QQ3
     31412003     owe                                                        290,00              0.45            130.50                       Billable
        78629 Sel\ice
              ret. conf, with Mere Toberoff




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                                                                      EXHIBIT 76
                                                                        1606
Case 2:10-cv-03633-ODW-RZ                                        Document 500-14                          Filed 10/10/12              Page 7 of 44 Page
                                                                      ID #:33207


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   !1122/200i'                                             Renner, Otto, Bolsselle, & Sklar, LLP
   J:.a · AM                                                        Pro-bill Wori<shee!                                                Page     726

   SIEG. ZG0101: Mr. Mike Slegel (continued)

   Dart?               Lawyer                                                                   Rate       Hours:
  l.Q__,_        _           _ _ _ _ _ _ _ _ _ _ _ __
                      ~Ta=:s:..:;k:...._
                                                                                                                            Amount            Total
                                                                                         Mort<up%        DN61ime
                                                                                                                           DNBAml==========
  Tctal: March 2003                                                                                            0.45
  Date: April 2003
      d/d/2003 DWB                                                                           305.00            0.35          106.75       Billable
         81944 SeMce
                Tel. c:onf. with M•m: Toberolf




     4 {1
            82001 Seruc.;
                  Reply to email from Mike Siegel


 rotor . April 2003                                                                                           2 .30                      S701.50
 Date: May 2003
      5/212003 DWB                                                                         305.00
            B-4Q72 Ser..loc
                                                                                                              0.30                       BlllaDI&
                     Tel. cont. with Marc Toberoff
     5/7/2.003
        85003



     S/612003 DW6                                                                          306.00            0.40
        85007 Sei'\Aclil                                                                                                   122.00        Billable
                  Tel, oonr. With Ste-.e WeDsler, report to Mr. Siecel
   &.'12/2003
        85044




Tot;al. M ay 2003
                                                                                                             1.90                       $57Sl.5Q
Oau~· June 2003
    G/3/20o3 owe
                                                                                          305.00            0.40           122.00       Slll~bl&
      68053 Sel'\oice
             Tel. conf, wilh Tobero!f re offer for rights




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                                                                            EXHIBIT 76
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Case 2:10-cv-03633-ODW-RZ                             Document 500-14                  Filed 10/10/12         Page 8 of 44 Page
                                                           ID #:33208


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      11/22/'2007                                Renner, Otto, Bol:5:;elle, & Sklar, LLP
     J '4' AM                                              Pre-bill Worksheet                                  l=lag11     727
     SIE3 ZG0101:Mr. Mll<e Siegel (continued)

     Dan~               Lawyer                                               Rate ·         Hours    Amount              Toto I
     JO
          6/10/2003
              88115


          6 / 17/2003
              86176



          6118/2003
             88185
'
                                                                                                                                     . . ·- .
       6'19/2003
             S81Qi1


       6'2312003 owe                                                      305.00            0.30     91.50         B»>able
             88203 .ser.;ce
                      Report lo Mr. Siegel


    To1el. June 2003
                                                                                            2.90                 $884.50
    Oate. July 2003
      7/14fZ003
          92810



      7.'21/2003
           Q283d Sen.kG
                 Tel. conf. wtth Marc Toberorr


·role:: July 2003
                                                                                           1.80                 $649.00




Total: Auoust 2003
                                                                                           o.eo                 $163.00




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                                                              EXHIBIT 76
                                                                1608
     Case 2:10-cv-03633-ODW-RZ                                Document 500-14                  Filed 10/10/12          Page 9 of 44 Page
                                                                   ID #:33209


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           11122/200":'                                   Renner, Otto. Bolsselle, & Sklar, LLP
           3:4 1 A M                                               Prs·bill Worl<sheet                                  P;ago    729




            4119/200-4
               119421




       Toi el April 200"1
                                                                                                  18.70                 $1,840.60
       ,:late. May 2004
           511 0/2004 OWB                                                        315.00
              "123457 Sei'IAea
                                                                                                                          emable
                          Tel. conr. wl!l'l Mike Siegel

       rota l· May 2004                                                                            0.30                   $94.50
       Oatc: June 2004
            6/3/2004 DWB                                                         315.00            0.60
              1272-4 g Ser.1cc                                                                               169.00       Billable
                          Tel. conf. with Marc Toberoff

            et61:Z004 owe                                                        316.00           0.60       169.00       Blllaole
              127267 Sai'\Ace
                          F\e-..ew ano reply to email~> rrom Mr. Siegel and wice ma ll me.ssae~ ffom
                          Mr Toblilroff

           13121/2004 Dvv6                                                      315.00                     1, 071.00     Billable




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                                                                                                                        EOMS 00190
l7 E /OE    -:!!:E>~d




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Case 2:10-cv-03633-ODW-RZ                                      Document 500-14                       Filed 10/10/12        Page 10 of 44 Page
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       3' 41 A M                                                    Pre-0111 Worksheet                                           Pegc     730

       SIEG ZG010 1: Mr. MIKe Siegel (continued)

       OCJil:              Lawyer                                                         Rate          Hours    Amount                 Toter
       !Q ____ __ Task                                                           Mcriw~%             DNB Time   DNB Ami

       Total: .lune 2004                                                                                 4,60                     ~1 , 449 . 00


       Dare. Jut~ 20Q1
              71612004 DWB                                                           :315.00             0.10     31 .50             Billable
                130001 Sero.lce
                       Place cellro Tooerolf


       Tctal: July 2004                                                                                  0.10                        $31.50
       ">ate: ~~!.!!H 2001
··: .•. ·' a12t2qp!J Qvve.
              t 34042 Sei"Ace
                                        . .. ·- .. .   -                            315.00               0.30     ·94.50· . ..      Slll:able·

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      i cTal· Augu't 200.11                                                                              0.30                        sg4.so
      Qalfr Sar:~lfUD~C ZllQ4
             913012004 owe                                                          .315.00              0.60    189.00             salable
                138716 Sei"Jce
                       Tel. oonf. with MDrc Toberorr re purchase orrer

      Total: September 2004                                                                              o.so                      $1119.00

     "Btl;!: Q!j! l!j!t>ef 2004
             1OI0/2004 owe                                                          316.00              0 .90    253.50             BHreore
               141956 Ser-.4ce
                       RaiAew nre, prepare report, email to Mike Siegel

         10'11 /2004 DWB                                                            315.00              0.40     126.00             Billable
             141993 Sef"\Ac e
                     Tel. conf. with Mero Toberoff rc ofl'er

         10.'1JI2004      owe                                                       315.00              o.eo     252.00             Billable
              14:2008
                                                       lei. confs. wflh Mate: Tobarolf

         10/271200-1 owe                                                            315 .00             0.30      94.50             S lllcbl"
             144!106 S en.-ice
                     T• l. conf. wilh Mero Tobc roff

        1012612004 DW8                                                             315,00               0. 30     94.50             Billable
            14 21 22 Senlico
                         Tel. conr. with Mike SiggQI




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Case 2:10-cv-03633-ODW-RZ                                               Document 500-14                        Filed 10/10/12                Page 11 of 44 Page
                                                                             ID #:33211


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    11/2212007                                                     Ronner, Otto, Bolosc::Jic, & Sltlewr, LLP
    3: 41AM                                                                 Pre-till Wor)(sheet                                                 P:;Jga    731

    S IEOG.ZG010 1: Mr. Mike Siegel (continued)

    D:lt~                L01wyer                                                                 Rats             Hours
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                         .:...Ta~s~l<::.._
                                                                                                                                   Amount                Total
                                                                                             Markup%           DNB iima          DNS Amt

   To tnl: Oc;lober 2004                                                                                             2 .70
                                                                                                                                             :::::==:====
                                                                                                                                                    $860,60




      , l/1 2/2 0 0 4
            145666

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  ro:ar: No~mber 2004                                                                                               2 .10                          na5.oo
  Date. December 2004
    12/6/2004 DWB                                                                               3 1~.00             0 .30            94.50          Billable ·
            1-1797<~    Ser.ice
                        Rel.iew and reply to email from Mike Siegel


  Total December 2004                                                                                               0 .30                           $94.50
  gate: February 2005
      2'1712005 DWB                                                                             315.00              0.50           167.60          Gill~abiCI
         155843 Sel\-lee
                TQI. conf. wllh Maro Tobcrcff


   .Aa J· Febrvery 2005·                                                                                            0.50                          $167.60
 jJate: M:ay 200S
       5/9/2005 DW6                                                                            330.00               0.30            99,00          BUieblo
         165782 Ser.ice
                Re\oiew l!lnd reply to email from Mike Sieger


 Tolt~i ·   May 2005                                                                                               0.30                            ~99. 00

 Oate : July 2005
     7f2512005 DWB
        ~73249 Sol\oice
                       Review preaalngs schedule and req ues t copies:
                                                                                               330.00
                                                                                                                 ®                16:5.00         Billable



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Case 2:10-cv-03633-ODW-RZ                                       Document 500-14                      Filed 10/10/12                  Page 12 of 44 Page
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        111221200i'                                          R~nner. Otto. Bolsselle. & Slc:l~r, L.L.P
        3 4~AM                                                         r:>ro·bill Work~hcol                                               Page       732
       Slf.:G ZG0101 :Mr. Mike Siggel (continued)
                                                                           ~               Rate                                                   Total
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         ::' .)li%1. ..J\ugust        .                                                              . .. . 14.00 . . "                     S1,400.00
      Delo. Septemb!fr 2000
           9/30/2005 KMG
                180768 Sr:r.1ce
                              Created Motion to lnterwne.
                                                                                         100.00
                                                                                                       ®                     60.00             Billable



     Total      S F.!~tertlber 2005                                                                         0.60                               $80.00
     Date· Q~;!ober 2005
       1013/2006 KMG
               184480 Sel'\4ce
                              Croated Motion to l 11le~o.
                                                                                       100.00
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  ·.: ·..
          10/4/2005 KMG
            184.489 Se,..eo
                    Created Motion to lnler.ene.
                                                                                       100.00             e;               100.00             Bllla.ble



        10!12/2005 KMG
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    Case 2:10-cv-03633-ODW-RZ                         Document 500-14            Filed 10/10/12   Page 13 of 44 Page
                                                           ID #:33213
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                                                               Boh,aelle, & Sklar, LLP
                                                            The Keith BuiJdlng
                                                           1!5211!uCIId Avenue
                                                           Clevefand, OH 44116
                                                              (216) 621-'\113


     Invoice submitted to:
     Mr. Mike Siogot
     3605 9end9m. .r Rd
     Olevefaod Helghta OH 44106



                                              For Pet1od Encstng Novambar 30, 2001
      G01 01; Notlcea of TermlnQtlon of Copyright Trancfer in SUPERMAN




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                     For profeulomd seNiees rendered                                              2.80         $770.00




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Case 2:10-cv-03633-ODW-RZ                         Document 500-14             Filed 10/10/12          Page 14 of 44 Page
                                                       ID #:33214
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                                                        1621 Euclid Awnu9
                                                       Cleveland, OH 44115
                                                          (216) 621-1113


    lnvoiC9 9Ubmirted Jo:
    Mr. Mll<e Siegel
    3605 Be ndemeer Rd
    Cleveland Heights OH 44106




                                          For Period Ending July 31 , 200'2
     <30101; Notices of Tennination of Copyright Transfer rn SUPERMAN



                  Professional Services
                                                                                                    H rs/Rate              Amount

       7/812002 DWB Tel. oonf. with Mike Siegel                                                            0.30             87.00
                                                                                                    • I   I I   •

      7/1512002
      7/1912002 I
                                                                                               ·.   : t   t I
      7/30/2.002 OWB Tel. conf. wltl\ Mar1< Toberoff, tel. oonf. Witt\ Kevtn MarkS                        0.90             261.00
                                                                                               $200.00/hr
     7/31/2002 OWB Review 3tetemenb and outstanding charge:t~ ~th AcwuntiiDt$l                            0.15             217.50
                                                                                               $290.00/hr
                  For professional services rendered                                                 S.4S             $ 1,6SO.!i0




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Case 2:10-cv-03633-ODW-RZ                       Document 500-14             Filed 10/10/12       Page 15 of 44 Page
                                                     ID #:33215
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                                       Rerflr, Otto, Solaaella, & Sklar, LLP -
                                                        The Keith Bu»dlng
                                                       1621 Euclid Avenue
                                                     Cleveland. OH 44115
                                                        (216) 621·11 13


   Invoice~ :submitted   to:
   Mr. Mike Siegel
   3605 Bendemeer Rd
   CIQVGI:md Height~ OH 44106




                                          For Period Ending November 30, 2002.
    <30101: Notices of Termination of Copyright T ransfer In SUPERMAN




                  Professional Services
                                                                                         _ llra£Batft                   Amount
   JJ11 112002 pwH Review 5leger renQL, place call to Toberoff                                      0.40                116.00
                                                                                             $2.(10.00/hr
    11/19/2002 OWB Tel. eonf. with Marti: 'robel'\lff                                              1.00                 280.00
                                                                                             $290.00/hr
    11/26/2002.                                                                                    0.30                  87.00
                                                                                             S29o.oomr
                  For professional services rendered                                                1.70            $493.00




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Case 2:10-cv-03633-ODW-RZ                           Document 500-14              Filed 10/10/12          Page 16 of 44 Page
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                                                            Tho Keith Building
                                                                                          4t
                                                            1621 Euclla Avenue
                                                           Cleveland, OH 44115
                                                              (216] 621 ·11 13


      Invoice submitted to:
      Mr. Mike Siegel
      3605 BendemoGr Rd
      Cleveland Heights OH -<1 4106




                                              For Period Ending January 3'1, 2003
       G0101; Nollces of Termfnallon of Copyright Tranefer In SUPERMAN




                    PJ'OfelSeionel Service~

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        1115/2003 DWB Review file, correspondence with Mr. SJegsl                                              0...40      116.00
                                                                                                    $290.00/hr
        111612003   owe Email to Toberoff. review and replY to email from Mike Sleget               . .        0.35        101.50
        1/221200




       1/231200S OWB Te. cont. with Marc Toberoff                                                              0.60        174.00
                                                                                                   $200.00/hr
       1/2-4/2003 OWB Tel. t'lonf. with Mere Tcberoff                                                    0.50              145.00
                                                                                                   $290.00/hr
       1/2812003 OWB I.G9al research, report to Mike Siegel                                              1.00             290.00
                                                                                                   $290.00/hr
       1129/2003 OWS Tel. eonf. with Mike Siegel                                                         0.60             174.00
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                    For prof'e=t~ional :seNices rendered                                                       9.45     $2,740.60




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 Case 2:10-cv-03633-ODW-RZ                      Document 500-14                Filed 10/10/12     Page 17 of 44 Page
                                                     ID #:33217
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                                                                                        e
                                                        1621 Euclid Avenue
                                                       Cleveland, OH 44115
                                                          {216) 621- 1113


     Jnvoicfl svbmiffod to:
     Mr. Mike Siegel
     3606 Bendemeer Ad
     Cleveland Heights OH 441 06




                                         For Period Ending M<1rch 31,2003
      C30101; Notices ofTermrnatlon or Copyright Transfer In SUPERMAN




                    Proressronal Services
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         314/2003 owa Tel. oonf. with Mare Toberoff                                                  0 .45       130.50
                                                                                                $290.00/hr
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  Case 2:10-cv-03633-ODW-RZ                       Document 500-14                Filed 10/10/12   Page 18 of 44 Page
                                                       ID #:33218
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                                                           The Kerth Building
                                                          1921 Euclid Avenue
                                                         Cleveland, OH 44115
                                                            (216) 621-1113


      Invoice submitlod lo:
      Mr. Mike Siegel
      3606 Bendemeer Rd
      Cleveland Hetgnt& OH 44106




                                             For Period Ending April 30, 2003
       G0101; Notices of Termination of Copyright Transfer In SUPERMAN




                     Professional Services
                                                                                                  HrsJRate        Amount
           4/412003 DWB Tel. oonf. with Mero Tobcroff                                                 0 .35        106.75

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                    For profceslonel services rendered                                                            $701.5C




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Case 2:10-cv-03633-ODW-RZ                                Document 500-14              Filed 10/10/12   Page 19 of 44 Page
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                                                    Re.far, Otto, Bolaselle, & Sklar, LLP
                                                                 ThQ Keith Building
                                                                 1621 l!ucno Avenue
                                                                Cleveland. OH 44115
                                                                  (210) 021-1113


       Invoice submitted to:
       Mr. Mike Si0gel
       3605 Bendemeer Rd
       C llilvlili;Jnd Haight& OH 44106




                                                    For Period Ending May 31, 2003
            G01 01 : Notices of Tennination of Copyright Transfer In SUPERMAN



                           Professional Sarvicaf:

                                                                                                       HrS)Rate       Amount
       ._     5/2/2003 DWB Tel. conf. with Marc Toberorr                                                   0.30         91.50
       ~      !jfl/2.003
              6/8/2003

       • 5/12/200~

                           For professional services rendered                                             1.90        $579.50




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Case 2:10-cv-03633-ODW-RZ                         Document 500-14               Filed 10/10/12      Page 20 of 44 Page
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                                             ReA. Otto. Bolsseue. & Sklar. LLP tt
                                                           The Keith Buildins
                                                          1621 Euclid Avenue
                                                        Cleveland, OH 44116
                                                            (216) 621-1113


       lnvoic9 submitted to:
       Mr. Mike Siegel
       3G05 Bendemeer ~d
       Cleverana Helgnrs OH JJ4105




                                             For Period Ending June 30. 2003
        C30101; Notices of Termination of Copyright Transfer In SUPERMAN




                     Professional Services

                                                                                                  Hr&/Rate               Amount
          8/312003 OWB TeL oonf- with Toberoff re offer for tights                                           0.40         122.00
                                                                                                   I         I I Ia
         G/10/2003

         6/17/2003 I
         6/1812003

         e/1912003 OWB Tel. canf. with Marc Toberoff regarding propo:let                               0.40               122.00
                                                                                                 $305.oomr
         6/23/2003 DWB Report to Mr. Siegel                                                                  0.30          91.50
                                                                                                 $305.00/hr
                     For professional services rendered                                                      l .90       $884.50




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 Case 2:10-cv-03633-ODW-RZ                          Document 500-14              Filed 10/10/12      Page 21 of 44 Page
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                                           R&r. Otto. aotssene, & Sklar.
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                                                                                       LL4
                                                          1621 Euclid Avenue
                                                         Cleveland, OH 44115
                                                            (216) 621 -111 ~


        Invoice submitted to:
        Mr. Mike Siegel
        3605 Bendemeer Rd
        Cleveland Heights OH 44106




                                             For Period Ending July 31 , 2003
         G01 01: Notiee~ of Tennlnation of Copyright Transfer In SUPERMAN




                     Professional Services
                                                                                                   Hrs/Rate     Amount
          711412003 owe                                                                                1.40         427.00
                                                                                                  $305.00/hr
          7121/2003 DWB                                                                                0.40         122.00
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                     For professional servrces rendered .                                              1.80     $549.00




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Case 2:10-cv-03633-ODW-RZ   Document 500-14   Filed 10/10/12   Page 22 of 44 Page
                                 ID #:33222




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 Case 2:10-cv-03633-ODW-RZ                        Document 500-14               Filed 10/10/12      Page 23 of 44 Page
                                                       ID #:33223
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                                          Re~r, Otto, Solssclle, & Sklar, LLP -
                                                          Th& Keith Building
                                                          1621 Euclid Avenue
                                                        Cleveland. OH 44116
                                                            (21tl) 1521~11 13


      mvoloe submmea ro:
      Mr. Mike Siegel
      3605 Bcndemeer Rd
      CI9VQ(Gnd H~lghto OH 44106




                                             For Periodl Ending June ~0, 2004
        G0101; Notice~ of Termination of Copyright Tran£fer in SUPI:RMAN



                     Profeseionel Sarvioa&
                                                                                                   Hrs/Ril~          Amount

          6/312004 OWB Ter. cont. wltn Marc Totleroff                                                   0.60          189.00
                                                                                                 $316.00/hr
          S/612004 owe Review and reply ro emalls rrom Mr. sreger and VOice malr message                0.60          169.00
                        from Mr. Toberoff                                                        $315.00/hr
         8/21 /2004 DWB Review end reply to email, prepare for meeting, meelin9 with Mr.                3.40         1,071.00
                            Siegel                                                               :!i315.DO/hr
                     For professional services rBndered                                                4.£0        S1 ,44g.oo




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Case 2:10-cv-03633-ODW-RZ                   Document 500-14                 Filed 10/10/12      Page 24 of 44 Page
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                                     Re- r , Otto, Boisselle, & Sklar, LLP
                                                       The Kelth Building
                                                      1621 Euclid Avenue
                                                  Clev~nd, OH       44115
                                                        (216} 621-1113


   rnvolce sui'Jmltlearo:
   Mr. Mike Siegel
   3605 Bsndemeer Rd
   Cleveland Heights OI-l 44106




                                     For Period Enolt'lg July 31, 2004
    G0101; Notice& of Termination of Copyright TranGfer in SUPERMAN




                 Professional Service&
                                                                                              Hrs/BiUf            Amount

      7/812004 DWB Place caD lo Tobaroff                                                          0.10             31.50
                                                                                             $315.00/hr
                 For professional services tendered                                               0.10            $31.50




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 Case 2:10-cv-03633-ODW-RZ                    Document 500-14             Filed 10/10/12       Page 25 of 44 Page
                                                   ID #:33225
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                                                     The Keith Building
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                                                    1G21 Euclid Avanue
                                                   Cteveland. OH 44115
                                                      (216) 621-1113


   tnvoiC6 submitted to:
   Mr. Mike Siegel
   360t5 Benaemeer Ra
   Cleveland Heights OH 44106




                                        For Period Ending September 80, 2004
    G01 01: Notrees or Termination or copyright Transfer In SUPERMAN




                 Professional SeNfeos

                                                                                           • .tjrs./Bate        Amount

     9/3012004 OWB Tel. conf. with Marc Toberoff re purchase offer                               O.SO            189.00
                                                                                           $316.00/hr
                Fer professional servioe& rendered                                               0.60           S159.00




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 Case 2:10-cv-03633-ODW-RZ                     Document 500-14               Filed 10/10/12     Page 26 of 44 Page
                                                    ID #:33226
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                                        Rettr, Otto, Solsselle, & Sldar, LLP
                                                       The Keith Building
                                                       1621 Euclid Avenue
                                                    Clevelend, OH -44116
                                                         (216) 621-1113


    lnvoica submitted to:
    Mr. Mike Siegel
    3606 BondGmGGr Rd
    Cleveland Helgtns OH 44 i 00




                                        For Period Ending October 31. 2004
     G01 01; Notices of Termination of Copyright Transfer In SUPERMAN




                  Prof~:sion~:~l Services

                                                                                              Hrs/Rate     Amoul)l

      101512004 OWB Ravlcw file, prep;anil r&port, email to Mike Siegel                          0.90          283.50
                                                                                          $315.00/nr
     1011112004 OWB Tel. conf. with Marc. Tobaroff re offer                                      OAO           128.00
                                                                                          $315.00/hr
     10/1312004 OWB                                 tel. conrs. With Marc Toberoff              0.80           252.00
                                                                                          $316.00/hr
     1012712004 DWB Tel. conr. with MarcToberoff                                                0.30            94 .60
                                                                                          $316.00/hr
     10128/2004 owe Tel. conf, with Mike Siegel                                                 0.30            94.50
                                                                                          $316.00/hr
                  For professional services rendered                                             2.70      $860.60




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        Case 2:10-cv-03633-ODW-RZ                          Document 500-14              Filed 10/10/12        Page 27 of 44 Page
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                                                                CleveLand, OH 4411~
                                                                   (216) 621-1113

                                                                 November 14, 2007                lnvoioa #     90477
          Invoice submillad to:
          Mr. Mike Siegel
          9605 Bendemeer Rd
          ~levelsnd Heights OH 44,06




                                                  For Period Ending November 30, 2004
           G01 01; Notlce5 of Termln~tlon elf Copyright Transfer In SUPeRMAN




                          Proressronal Services
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                          For proresslonal services ren(1ered                                                 2AO       $756.00




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                                                       ID #:33228
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                                                           The Keith Building
                                                          1821 Euclid AvenLtC
                                                         creverend. OH 44115
                                                            (216) 621·1113


      Invoice :subm;ft(Jd to:
      Mr. Mike Siegal
      3505 aendemeer Rd
      Cleveland Height~ OH 44106




                                             For Pcrioc; Ending Maron 31,2002
       G0101: Notices of Termination of Copyright Transfer in SUPERMAN



                     Professional Services
                                                                                                  Hm!Rate      Amount
          3/612002 DWB Tel. conr. wnn Kevin Marks                                                      1.50     412.50

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        3/15/2002                                                                                     0 .35
                                                                                                 $275.00/hr
        3/2212002 DWB Tel. conf. with Marc Toberof1                                                    0.70     192.QO
                                                                                                 $376.00/hr
                     For profeeelonal eervloee rendered                                                3.40    $936.00




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                                                               1621 Euclid Avenue
                                                              Cleveland. OH 44115
                                                                 (210) 021-1113
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      ln YDice :wbmltted to:
      Mr. Mike Siegel
      3605 Bendemeer Ftd
      Clovaland Height& OH 44106




                                                  For Period Endln9 Feb\'\lary 28, 2005
           G01 01: Notices of TermlnatSon of Copyright Transfer In SUPERMAN



                          Professional Services

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            211712005 owa Tel. conr. WJtn Marc ToDeroff                                                     0 ,50        157.50
                                                                                                      $315.00/hr
                          For profo$sional GGrviQG& rendered                                                0.60        $1o7.5Q




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            .·                               Re. . ., ,O tto, 9olssello, & Sklar, LLP
                                                             The Keith Building
                                                                                           e
                                                            16.21 Euclid Avenue
                                                           Cleveland, OH 44115
                                                              {216) 621-1113


        lnvolce ~ubmftted to:
        Mr. Mike Stege\
        3605 aendcmecr Ro
        Cleveland H~ig h ts. OH dA 1OB




                                                Far Period Ending October 31, 2005
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                        ProressJonal SeJVIces
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          10/3/2005 KMO Created Motion to Intervene.                                                     1.00    100.00
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          101412005 KMG Created Motion to Intervene.                                                    1.00     100.00
                                                                                                   $10o.oomr
         10/1212005 KMG Cre2ted Motion to Intervene.                                                     1.00    100.00
                                                                                                   $100.00/hr
    ,    1013112005 owa Tel. oonr. With Marc Toberoff. meeting with Mike Siegel                          1.90   627.00
                                                                                                   $330.00/hr
                        For profeaefonal aervlcea rendered                                               4.90   $927.00




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         Case 2:10-cv-03633-ODW-RZ                                           Document 500-14                                       Filed 10/10/12                   Page 31 of 44 Page
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        Nrck:n<:~rnG             SIEG.L0102 I 38877
     F•JII Name                  Mr. Mike Siegel
     A.ddrtilf; f;               3606 Bendemeer Rd
                                 Cle\eland Heights OH 44106
     Phone 1                                             PhOne 2
     /-'hone 3                                                             Phone .:1
     In Rei To                   L0102; RENNER, OTIO. BOISSELLE & SKLAR vs . ESTATE OF MICH~AI. SIEG~L ~ CASE NO.
                                 CV-07.6208!:i6

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Case 2:10-cv-03633-ODW-RZ                                   Document 500-14                   Filed 10/10/12           Page 32 of 44 Page
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                                 Clevoland Helgnts OH 44105
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                                            ID #:33234




                                           Laura Siegel Larson
                                         6400 Pacific Avenue #106
                                         Playa Del Rey, CA 90293

                                               November 2, 2002

       Michael Siegel
       3605 Bendemeer Rd.
       Cleveland Heights, Ohio 44118

       Dear Michael,

               Thank you for your very nice letter of October 2Dd. I truly appreciate your understanding
       of the difficulty of my divorce. You did not mention how your mother is doing. I hope that
       means she has improved and is home with you again.

                This has been a very busy month involving various aspects of the Superman and
       Superboy rights. Enclosed you will find a copy of a letter my mother and I have sent to Lillian
       Laserson, the General Counsel ofDC Comics and Roger Zissu and Carol Simkin ofDC's outside
       law firm, Fross Zelnick Lerhman & Zissu, P.C. Under the terms of the Tolling Agreemen~ these
       letters had to be sent at the conclusion of negotiations with DC so that the Tolling Agreement is
       tenninated as well.

              We were shocked by the change of attitude we saw in Bruce Ramer and Kevin Marks
      from the time we retained them to recent months. In the beginning they appeared to be very
      much on our side, determined to get justice for us and they vowed to work hard for us in
      negotiations versus DC and AOL Time Warner. Toward the end of2001, there was a shift.
      They started pressuring us to lower our expectations and to take an offer we did not want. They
      increasingly seemed to be siding with DC against our interests. We never made any outright
      acceptance of the DC deal. Kevin tried to scare us by saying if we didn't take DC' s "final offer"
      they'd probably sue us.                                            .-.
                                                           . .:.··

              Between February and May of this year we became so dissatisfied with their
      representation and the revolting offer from DC that we asked for a meeting with Kevin on May
      22ad planning to fire them then and there. In the meeting, we decided to give Kevin one last
      chance. He wanted to redraft DC 's February t• proposal along the lines of the last discussion he
      had had with John Schulman. We gave Kevin conditional permission to do just that but it was
      not to be sent out if we did not approve of it As you know it was unacceptable and we fired
      Gang, Tyre, Ramer & Brown and notified DC, etc. that negotiations were over.

             That terrible letter from Kevin in which he threatened to testify against us if called into
      court was the last straw. We are glad to be rid of them.

              It came as quite a surprise to my mother and me that everyone but us--Arthur Levine,
      Kevin Marks, you, and Don Bulson-knew about the interest of Marc Toberoff and Ari
      Emmanuel in the properties as far back as 2001 and no one ever mentioned it to us until Kevin's
      Jetter of August, 2002. It was very interesting to hear from you that you and Don Bulson were
      contacted in Nov., 2001. It's a shame that Kevin kept them from contacting us and that he did



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                                                 ID #:33235




           Page2
           Nov. 2, 2002

           not infonn us of them or their offer until August 2002.

                   My mother and I have had extensive meetings with Toberoff and Emmanuel in the past
           few weeks. We learned that due to the delays and the misinformation Kevin had given them that
           there was a deal with DC, the billionaire investor who was offering $15 million up front plus
           participation thought it was a hopeless situation and invested his money elsewhere. We were
           very impressed with Toberoff and Emmanuel, however, and have signed them as our new
           representatives. Not only do they have a first band knowledge of the real value of properties that
'-         are adapted to TV and film. it is possible that the top talent that Emmanuel's Endeavor Agency
           represents (top stars, directors, producer-writers) could be successfully packaged with Siegel
           properties. They have other ideas as well. In additio~ Toberoff, the attorney, has a successful
           track record of representing creator-writers and their heirs who have been screwed by the studios.
           This makes them a good fit with Superman and other Siegel creations. They consider DC's last
           offer to us ridiculous. They are currently putting together a strategy that will be much more
           aggressive than anything that Marks or Ramer ever did. We are hopeful that they will bring
           matters to a satisfying conclusion.

                   I now have two new divorce lawyers and my ex is continuing to represent himself. He
           doesn't care how much this costs me or that it's taking money away from the children. The latest
           on that front is that he didn't like a ruling the judge made in my favor by extending the
           restraining order against him. So he's taking it to the Court of Appeals and trying to get it
           dismissed on a technicality. This is, of course, time consuming, upsetting and very expensive.

                   I have boxes and boxes of divorce, copyright and financial paperwork everywhere in my
           small place--even all over my bed-including the ~rds of Superman expenses I xeroxed for
           you a long time ago. When my ceilings had to be ripped out and replaced, and I had to pack
           things up and move out for awhile, things got even harder to locate. As soon as I find the papers
           that pertain to you, I'll put them in the mail along with my mother'~

                   I hope you will Stay weii a8 the V,:~;ther ·c~ges- and tlud the increa8ing cold ·d~n't
           make your arthritis act up. We're all sick here. I've had a throat and sinus infection for three
           weeks now. The antibiotics I've taken haven't worked and I have a lot of pounding headaches.
           I'm also having a flare~up of my Multiple Sclerosis with increased numbness and tingling. I fell
           down three times in the last few days, once onto a pile of carton boxes. I also suffer from chronic
           fatigue and need rest badly. My mom has bronchitis, Michael's asthma has been bothering him
           and James fractured his wrist playing flag football. His cast just came off this week. Here's
           hoping it won't be a bad winter and we'll all be better soon.

                   Best wishes for the holidays,



                   Laura




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Case 2:10-cv-03633-ODW-RZ                            Document 500-14                 Filed 10/10/12           Page 36 of 44 Page
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                                                  ID #:33237

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                                                                                              Page 1 of2


       Michael Siegel

       From:      <MToberoff@aol.com>
       To:        <msiegel@core.com>
       Sent:      Saturday, November 17, 2001 8:24
       Attach:    Marc Toberoff references.rtf
       Subject:   Your Rights
       Privileged & Confidential

       Michael:

       I am very glad to have located you, which wasn't easy since there are about
       2,000 Michael Siegels in the US. Please be assured that I am contacting you
       about a very important and confidential matter.

       I am an intellectual property attorney (admitted to both the New York and
       California Bars) who specializes in upholding the rights of creators and
       their heirs in entertainment properties. If you provide me with a fax number
       I can fax (or FedEx if you prefer) some articles on me in the New York Times,
       Variety and The Hollywood Reporter.

       Based upon my research I am absolutely convinced that you retain important
       rights with respect to your father Jerome Siegel's work, including Supennan.
       This is true, in addition to or notwithstanding whatever will or estate your
       father may have left.

       As a preliminary matter, have you signed (or have you been asked to sign)
       anything regarding such rights? If so, depending on the circumstances, such
       documents may not necessarily prevent or preclude your future rights, and it
       would be worthwhile to examine this issue more closely.

       I am willing to work "on spec" on a purely success driven basis to help you
       to receive the full benefit of your rights. That is, I would charge no hourly
       legal fees and I would pay all out-of-pocket costs involved. This is how I
       normally work so my clients have no risk from fully investigating, analyzing
       and enforcing their rights. I normally achieve very beneficial results this
       way.

       I have attached a list of references of people who I believe were simialrly
       situated to you whom I represented very successfully. Feel free to contact
       them.

       Even if you believe you own no rights, or even if you think you have signed
       them away in prior dealings I sincerely hope you look into this a bit further
       with me. It certainly will do harm to contact me, discuss the matter and get
       a fresh perspective of your situation (without any cost to you).

       I don't mind communicating by e-mail, but initially we should meet and
       discuss the situation over the phone. It will give you a better sense of who
       I am and hopefully a better understanding and greater sense of security with
       respect to this matter.

                                                                                             11117/2001
          CONFIDENTIAL                                                                          EOMS 00673
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                                                     EXHIBIT 76
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                                                                                          Page 2 of2


    I welcome the opportuhity to speak with you at your earliest convenience. The
    best number is (310) 589-5151 or you can always try my mobile phone: (310)
    989-0920. My fax is (310) 589-5152.

    I will hold all our communications as strictly privileged and confidential
    and would hope that you would do the same for me.

    Marc toberoff




                                                                                          11/17/2001
     CONFIDENTIAL                                                                           EOMS 00674
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                                                EXHIBIT 76
                                                  1638
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                                        ID #:33239


..

             Marc Toberoff references:

             1.    Mike Ralston, son of Gilbert Ralston, (deceased)
             writer/creator of "The Wild Wild West" (re: rights dispute with
             CBS and Warner Bros.):      (843) 883-3811

             2.   Joe Swerling, Jr., son of the famous Joe Swerling (wrote the
             book for "Guys & Dolls," etc.): (323) 856-7350.

             3.    Rocky Kalish, co-writer of "Gilligan's Island'' pilot
             (represented in dispute against the other co-writer/co-creator):
                   (818) 384-2998

             4.    Steve Pirosh, son of Robert Pirosh (deceased) prolific
             writer/creator of TV series "Combat!" and Marx Brothers' movies,
             etc.:       (805) 542-7746

             5.  Roy Huggins (creator of The Fugitive, The Rockford Files,
             Maverick, etc.): (310) 476-7892.




          CONFIDENTIAL                                                           EOMS 00675
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                               IN THE COURT OF COMMON PLEAS
                                 CUYAHOGA COUNTY, OHIO

           RENNER, OTTO, BOISSELLE, &                   )      CASE NO.        CV-07-620856
           SKLAR,LLP                                    )
           c/o Don W. Bulson, Esq.                      )
           1621 Euclid Avenue, 19th Floor               )
           Cleveland, Ohio 44115                        )      JUDGEJOANSYNENBERG
                                                        )
                                 Plaintiff,             )
                                                        )
                         vs.                            )
                                                        )
          ESTATE OF MICHAEL SIEGEL                      )
          c/o Melvin Banchek                            )
          55 Public Square, Suite 918                   )      AFFIDAVIT OF
          Cleveland, Ohio 44113                         )      DEBORAH A. WILCOX
                                                        )
                                 Defendant.             )


                  DEBORAH A. WILCOX, being duly sworn, state as follows:

                  1.     The information contained herein is based on my personal knowledge and

          is true and accurate to the best of my knowledge and belief.

                  2.     I am a partner with the law firm of Baker & Hostetler LLP in its Cleveland

          office. I serve as the Co-Chair of the firm's Intellectual Property Litigation Practice

          Team.    My practice area encompasses complex intellectual property counseling and

          litigation, including copyright counseling and infringement litigation.

                  3.     I have been practicing law with Baker & Hostetler LLP, located in their

          Cleveland office, since 1987.

                  4.     I earned a J.D. degree from the University of Wisconsin-Madison in 1987.

                  5.     I have been admitted to the Ohio State Bar since 1987.


                                                       4                                      EOMS 00676


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                  6.      Based on my expenence at Baker & Hostetler LLP, based in the

           Cleveland, Ohio office, I am familiar with the range of the customary hourly rates for

           legal fees charged by experienced intellectual property law attorneys practicing in the

           area of copyright, including counseling, negotiation, transactional work and infringement

           litigation in the Northern Ohio geographic area.

                  7.      The range for a customary and reasonable hourly rate for an experienced

           intellectual property law attorney to handle the foregoing copyright matters in the

           Northern Ohio area and specifically in the greater Cleveland area is from $250 to $575.

                  8.      My customary hourly rate for copyright infringement litigation matters is

           $475 per hour. This is the hourly rate that I am currently charging for my services to

          render my professional opinion for the above-captioned matter. Other senior partners at

          Baker & Hostetler LLP currently charge in the range of $355 per hour to $625 per hour

           for general counseling, transactional matters and litigation relating to copyright.

                  9.      I have reviewed the billing statements of Renner, Otto, Boisselle & Sklar,

          LLP (herein "Renner Otto") and background information in respect of said firm's

          representation of Michael Siegel pursuant to a contingent fee agreement entered into

          between Mr. Siegel and Renner Otto.           A copy of the contingent fee agreement IS

          appended as Exhibit A and a copy ofthe billing statements is appended as Exhibit B.

                  10.     Based on my personal knowledge and experience as outlined above, it is

          my professional opinion to a reasonable degree of professional certainty that (1) the

          hourly rates charged by Renner Otto during its course of representation of Michael Siegel

          are within the range of the reasonable and customary hourly rates in Northeastern Ohio

          for partners and associates with copyright experience to handle the type of copyright




                                                        4                                        EOMS 00677


                                            EXHIBIT 76
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                                               ID #:33242




           matters reflected m the billing statements and (2) the time spent on the tasks IS

           reasonable.

                    11.        Based on my personal knowledge and experience as outlined above, it is

           my professional opinion to a reasonable degree of professional certainty that the

           contingency agreement between Michael Siegel and Renner Otto is reasonable, given the

           nature of the representation. The agreement provides for Renner Otto to receive as

           compensation for attorneys' services and expenses, 33% of all proceeds ("Proceeds")

           derived from Michel Siegel's present and future interests in the copyrights in each and

           every work (in any medium whatsoever, whenever created) that includes or embodies any

           character, story element, or indicia reasonably associated with SUPERMAN or the

           SUPERMAN stories, such as, without limitation, Superman, Clark Kent, Lois Lane,

           Perry White, Jimmy Olsen, Superboy, Supergirl, Lana Lang, Lex Luthor, Mr.

          MXYZTPLK (also known as Mr. MXYZPTLK), Ma and Pa Kent, Steel, the planet

          Krypton, Kryptonite, Metropolis, Smallville, or the Daily Planet.

                    12.       The contingency agreement also obligated Michael Siegel to reimburse

          Renner Otto for monies advanced for expenses reasonably necessary to the performance

          of services pursuant to the contingency agreement.

                    Further Affiant sayeth naught.



                                                                 DEBORAH A. WILCOX

          Sworn to and subscribed before me this f?"B· day of January 2008.




                                                                   MARGARET M. BANNAN, NOTARY PUBLIC
          501675194.1, Wilcox Affidavit                                  In and For the ~tate of Ohio
                                                                    My comml8slon Expires March 18, 2008
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                                              EXHIBIT 76
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                                                          ID #:33243
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•   •~Jol   -        •




                                                 ATTORNEY-CLIENT AGREEMENT


                            Agreement made this   J,...h day of December, 1997, in Cleveland, Ohio.
                            Michael Siegel ("Client") of 3605 Bendemeer Road Cleveland Heights, Ohio 44118,
                     hereby retains and employs Renner, Otto, Boisselle & Sklar, L.L.P. ("Attorneys") to represent
                 Client in negotiations with third parties in regard to any present or future interest Client has in
                 copyrights relating to Client's father's creation of SUPERMAN, Client being the son of Jerry
                 Siegel who, with his co-creator, created SUPERMAN, and such other activities reasonably
                 necessary to the protection and enforcement of any such present or future copyright interest.


                            It is agreed and understood that this retention and employment is upon a
                 contingent fee basis. Therefore, if there is no recovery of money, client will not be
                 indebted to attorneys for any sum whatsoever as attorney fees.


                            Client agrees that if Attorneys advance monies for expenses reasonably
                 necessary in Attorneys' opinion to their performance of services hereunder, Client
                 agrees to reimburse Attorneys for such expenses upon demand or from Proceeds, as
                 hereinafter defined.


                            As compensation for attorneys' services and expenses, client agrees that
                 attorneys shall receive 33% of all proceeds ("Proceeds") derived from SIEGEL's present and
                 future interests in the copyrights in each and every work (in any medium whatsoever, whenever
                 created) that includes or embodies any character, story element, or indicia reasonably
                 associated with SUPERMAN or the SUPERMAN stories, such as, without limitation, Superman,
                 Clark Kent, Lois Lane, Perry White, Jimmy Olsen, Superboy, Supergirl, Lana Lang, Lex Luther,
                 Mr. MXYZTPLK (also known as Mr. MXYZPTLK), Ma and Pa Kent, Steel, the planet Krypton,
                 Kryptonite, Metropolis, Smallville, or the Daily Planet.


                            Attorneys shall have the right to withdraw provided that Attorneys take reasonable steps
                 to avoid foreseeable prejudice to the rights of Client. In the event of such withdrawal, (1)
                 Attorneys shall have no further obligation to provide any further representation of the Client, (2)
                 Client will reimburse Attorneys from any Proceeds received by Client for all expenses paid by


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            ATTORNEY-CLIENT AGREEMENT



            Attorneys on Client's behalf, (3) Client will pay to Attorneys from any Proceeds received by
            Client the value of the attorney fees rendered based on the hourly charges for services
            rendered by Attorneys, and (4) Client will further pay to Attorneys, as a risk assumption factor,
            3% of the Proceeds, however obtained, whether by agreement, settlement, judgement or
            otherwise.


                     Client agrees that Attorneys may retain, subject to Client's approval, co-counsel who
            may participate in the above attorney fees without additional cost to Client.


                     From any Proceeds coming into the Attorneys' possession, Attorneys are authorized by
            Client to deduct any payments due Attorneys before paying the balance to Client, and for such
            purposes, Attorneys are authorized to receive and endorse, in the name of Client, all checks
            coming into Attorneys possession in respect of Proceeds.


                     Attorneys make no representations or promises regarding the success of any
            negotiations or the recovery of any Proceeds relating hereto.


            Client                                               Renner, Otto, Boisselle & Sklar, L.L.P.




                                                                 Don W. Bulson, Partner


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